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Exhibit D

United States of America ex rel. Ven-a-Care of the Florida Keys, Inc. v. Dey, Inc., et al.,
Civil Action No. 05-11084-PBS

Exhibit to Plaintiff's Memorandum In Support of United States’ Motion
In Limine Regarding Testimony of Raymond C. Winter and
Sequencing of Deposition Testimony
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NO. GV002327
THE STATE OF TEXAS
EX REL.
VEN-A-CARE OF THE
FLORIDA KEYS, INC.,
PLAINTIFF (S),

IN THE DISTRICT COURT

DEY, INC.; ROXANE
LABORATORIES, INC., WARRICK
PHARMACEUTICALS CORPORATION,
SCHERING-PLOUGH CORPORATION,
AND SCHERING CORPORATION,

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vs. ) TRAVIS COUNTY, TEXAS
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)
DEFENDANT (S) . )

53RD JUDICIAL DISTRICT

KRREKKKEKKEKEKRKKE KKK KEKE KRK KERR KEKE KRKEKKEKEKKEKEKKEKK

ORAL AND VIDEOTAPED DEPOSITION OF
ROBERT FRANCIS MOZAK
NOVEMBER 6TH, 2002

VOLUME 3

KEKE KKKKEEKKEKKEKKKKKEKEKEKEEKRKEKKEKEKKKKKKK KKK KKK

ORAL AND VIDEOTAPED DEPOSITION OF ROBERT FRANCIS
MOZAK, PRODUCED AS A WITNESS AT THE INSTANCE OF THE
PLAINTIFF (S), AND DULY SWORN, WAS TAKEN IN THE
ABOVE-STYLED AND NUMBERED CAUSE ON NOVEMBER 6TH, 2002,
FROM 9:11 A.M. TO 5:01 P.M., BEFORE CYNTHIA VOHLKEN,
CSR IN AND FOR THE STATE OF TEXAS, REPORTED BY MACHINE
SHORTHAND, AT THE OFFICES OF COUDERT BROTHERS, 600
BEACH STREET, SAN FRANCISCO, CALIFORNIA PURSUANT TO

THE TEXAS RULES OF CIVIL PROCEDURE.

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APPEARANCES
FOR THE PLAINTIFF (S) :

MR. PATRICK J. O'CONNELL

MR. RAYMOND C. WINTER

MS. CYNTHIA O'KEEFFE

OFFICE OF THE ATTORNEY GENERAL
STATE OF TEXAS

POST OFFICE BOX 12548

AUSTIN, TEXAS 78711-2548

FOR THE RELATOR:

MR. JAMES JOSEPH BREEN

THE BREEN LAW FIRM, P.A.

P. O. BOX 297470

PEMBROKE PINES, FLORIDA 33029-7470

~AND-

MR. FRANK M. PITRE

COTCHETT, PITRE, SIMON & MCCARTHY
840 MALCOLM ROAD, SUITE 200
BURLINGAME, CALIFORNIA 94010

FOR THE DEFENDANT(S) DEY, INC.:

MR. STEPHEN M. HUDSPETH
COUDERT BROTHERS

1114 AVENUE OF THE AMERICAS
NEW YORK, NEW YORK 10036-7703

-AND-

MR. STEVEN A. FLECKMAN
FLECKMAN & MCGLYNN, P.L.L.C.
515 CONGRESS, SUITE 1800
AUSTIN, TEXAS 78701-3503

FOR THE DEFENDANT ROXANE LABORATORIES, INC.:

MR. R. ERIC HAGENSWOLD

SCOTT, DOUGLASS & MCCONNICO, L.L.P.
ONE AMERICAN CENTER, FIFTEENTH FLOOR
600 CONGRESS AVENUE

AUSTIN, TEXAS 78701

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FOR THE DEFENDANT WARRICK PHARMACEUTICALS CORPORATION,
SCHERING-PLOUGH CORPORATION AND SCHERING CORPORATION:

MS. KARIN B. TORGERSON
LOCKE LIDDELL & SAPP, LLP
2200 ROSS AVENUE, SUITE 2200
DALLAS, TEXAS 75201-6776

FOR THE WITNESS ROBERT MOZAK:

MR. MARTIN F. GAYNOR, III

COOLEY MANION JONES LLP

21 CUSTOM HOUSE STREET

BOSTON, MASSACHUSETTS 02110-3536

ALSO PRESENT:

MR. THOMAS A. TEMMERMAN,
CALIFORNIA OFFICE OF THE
ATTORNEY GENERAL

MR. ZACHARY TAYLOR BENTLEY, II

MS. ANNE ARNOLD

MR. BRIAN BOBBITT, VIDEOGRAPHER

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481
A FACT WITNESS HERE TODAY.
IF YOU HAVE A DOCUMENT YOU WANT TO SHOW
HIM ABOUT THE COMPANY AND LAY A PROPER FOUNDATION THEN
I'LL RECONSIDER MY INSTRUCTION. FOR NOW IT STANDS.
MR. WINTER: THAT'S FINE. WE'LL COME UP
WITH ANOTHER QUESTION THAT'S PERHAPS BETTER.
Q. (BY MR. WINTER) MR. MOZAK, I WOULD LIKE TO
DRAW YOUR ATTENTION NOW TO A DOCUMENT THAT WAS
INTRODUCED AT ONE OF YOUR PRIOR DEPOSITIONS AND IT'S

BEEN INDICATED HERE AS EXHIBIT 72.

A. UH-HUH.

Q. DO YOU RECALL. THAT EXHIBIT?

A. YES, SIR.

Q. OKAY. AND DO YOU RECALL THAT WHEN MR. BREEN

AND I BELIEVE MYSELF AS WELL ASKED YOU QUESTIONS ABOUT

THIS DOCUMENT LAST YEAR, NOVEMBER OF 2001, YOU

INDICATED TO US THAT ONE OF THE REASONS WHY YOU

BELIEVE THAT EXHIBIT HAD BEEN PREPARED, THAT

MEMORANDUM HAD BEEN PREPARED BY MS. BURNHAM, WAS

BECAUSE SHE WAS CONCERNED ABOUT A SITUATION IN

FLORIDA. DO YOU RECALL GENERALLY THOSE DISCUSSIONS?

A. NO, I DON'T RECALL THAT.

Q. YOU DON'T? OKAY. WELL, LET ME ASK YOU.

WHAT IS YOUR UNDERSTANDING AS TO WHY MS. BURNHAM

PREPARED THAT MEMORANDUM WHICH IS AT EXHIBIT 72?

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A. I REALLY DON'T KNOW WHY SHE PREPARED THIS

MEMO AND SENT IT OUT. I WASN'T AWARE OF IT AT THE

TIME AND I DIDN'T BECOME AWARE OF IT UNTIL QUITE SOME

TIME AFTER THAT. THE ONLY -- THE ONLY -- MY ONLY
UNDERSTANDING OF -- OF -- OF THE TIME FRAME, SO TO
SPEAK, IS THIS WAS -- THIS WAS A TIME WHEN SOME OF OUR

SALES REPS WERE CONCERNED ABOUT THE WAC AND THAT WAS
NOTED BY WARRICK AND THAT, OF COURSE, WAS DEMONSTRATED
BY SOME -- SOME OF OUR REPS CALLING ON THE STATES
DIRECTLY. AND I DON'T KNOW WHETHER THAT HAD ANY
MOTIVATION AT ALL AS TO WHETHER -- WHY SHE WROTE THIS
MEMO, BUT THAT WOULD BE MY ONLY RECOLLECTION OF,
QUOTE, THE TIME FRAME.

Q. SO YOU DON'T RECALL DISCUSSING A SITUATION IN
FLORIDA IN YOUR DEPOSITION LAST NOVEMBER?

A. YEAH. THAT'S WHAT I WAS JUST REFERRING TO.

THERE WAS A SITUATION THAT OCCURRED IN FLORIDA THAT --
WHERE ONE OF OUR REPS WENT TO THE STATE OF FLORIDA TO
SO TO SPEAK BRING UP THE WAC ISSUE, THE WARRICK WAC
ISSUE, WITH THE STATE OF FLORIDA AND TRY TO INFORM THE

STATE THAT THE WAC WAS EXCESSIVE AND -- AND REALLY GOT

NO -- NO SATISFACTION FROM THE STATE.

Q. AND WHO WAS THE REPRESENTATIVE IN FLORIDA?
A. I BELIEVE THAT WAS ROSS UHL.

Q. AND DO YOU KNOW HOW MR. UHL CAME TO THE

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493
YOU TOLD US IN NOVEMBER OF LAST YEAR
THAT YOU DID NOT KNOW ABOUT THIS ACTION THAT'S

MANIFEST ON THIS EXHIBIT 72 AT THE TIME?

Q. AND WHEN YOU SAY AT THE TIME DO YOU MEAN YOU
DID NOT KNOW ABOUT THIS ON MAY 30TH, 1995?

A. YES, SIR.

Q. AND I THINK YOU SAID THAT AGAIN TODAY A

MOMENT AGO.

Q. WHEN DID YOU DISCOVER THAT THIS ACTION HAD

BEEN TAKEN?

A. MY FIRST RECOLLECTION OF SEEING THIS MEMO WAS
WHEN WE WERE PRODUCING DOCUMENTS FOR DISCOVERY, WHICH
WOULD HAVE BEEN -- I CAN'T GIVE YOU THE EXACT DATE.
IT WOULD HAVE BEEN SEVERAL YEARS LATER.

Q. THAT'S WHEN YOU FIRST SAW THE MEMORANDUM?

Q. OKAY. NOW, IN YOUR MIND DO YOU DISTINGUISH
BETWEEN SEEING THE MEMORANDUM ON THE ONE HAND AND
BEING AWARE THAT ACTION WAS TAKEN TO RAISE THE WAC ON
THE OTHER HAND?

A. NO, SIR, I DON'T DISTINGUISH BETWEEN THE TWO.

Q. OKAY. SO IS IT YOUR TESTIMONY THAT THE FIRST

TIME THAT YOU KNEW THAT THE WAC HAD BEEN RAISED WAS

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494
WHEN YOU SAW THAT DOCUMENT IN PREPARATION OF DOCUMENT
PRODUCTION IN CONNECTION WITH THIS LAWSUIT OR ANOTHER
LAWSUIT?
MR. HUDSPETH: OBJECTION, FORM.
A. WELL, I WOULD HAVE -- I WOULD HAVE BECOME
AWARE OF IT IN DECEMBER OF '95 WHEN WE WERE PRODUCING
A NEW PRICE PAGE FOR THE INTRODUCTION OF A -- OF A NEW
PRODUCT. I THINK IT WAS ALBUTEROL MDI. AND OUR
NORMAL PROCEDURE AT THAT POINT IN TIME WOULD BE TO
SEND AROUND A PRICE PAGE WHICH WOULD HAVE -- ALL OF
THE PRICES WOULD HAVE BEEN CHECKED. AND SO I SIGNED
OFF ON THAT PRICE PAGE WHICH INDICATED 14.50 FOR
ALBUTEROL AND THAT IN TURN TRIGGERED ONE OF THE

MARKETING PERSONNEL TO INFORM THE FIRST DATABANK THAT

THE PRICE THAT HAD BEEN INCREASED WOULD HAVE -- SHOULD
BE CHANGED.
Q. OKAY. LET ME TALK TO YOU ABOUT THAT AND MAKE

SURE I UNDERSTAND WHAT YOU'RE TELLING ME. DECEMBER

1995, IS THAT THE MONTH WE ARE IN NOW?

A. YES, SIR.

Q. OKAY. AND YOU ARE TALKING ABOUT A DOCUMENT

THAT YOU ARE CALLING A PRICE PAGE; IS THAT CORRECT?

A. YES.

Q. WHAT IS A PRICE PAGE, PLEASE?

A. IT'S REALLY OUR -- OUR PUBLISHED PRICE PAGE

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591

MARINE WORLD PARKWAY TO GO TO THIS RESTAURANT THAT YOU

DINED AT WITH MS. SELENATI SOMETIME IN 2000?

A. YES, I WOULD HAVE.
Q. YOU WOULD HAVE DONE THAT. OKAY.
A. YEAH.

Q. AND THAT'S APPROXIMATELY 50 MILES FROM YOUR

Q. WHY WOULD YOU TRAVEL 50 MILES FROM YOUR HOME,

GO THAT FAR TO GO TO A RESTAURANT TO HAVE DINER WITH
MS. SELENATI OR MS. BURNHAM?

A. I DON'T KNOW WHETHER I MADE A SPECIFIC TRIP

TO SEE HER. I MAY HAVE BEEN IN THE AREA FOR SOME
OTHER BUSINESS, EITHER IN SAN FRANCISCO, OR IT'S EVEN
POSSIBLE I WAS EITHER GOING OR COMING ON A TRIP. I
DON'T RECALL THE EXACT CIRCUMSTANCES, BUT -- SO THAT'S
MY -- THAT'S MY BEST RECOLLECTION. IT -- IT WAS
LIKELY SOME OTHER REASONS I WAS IN THE AREA.

Q. ALL RIGHT. WELL, THE RESTAURANT IS CERTAINLY
NOT CONVENIENT TO YOUR HOME FOR DINING PURPOSES, IS
IT?

A. NO, SIR, IT'S NOT.

Q. SO WHY WOULD YOU BE -- WHY PICK THAT

PARTICULAR LOCATION FOR A RESTAURANT TO HAVE -- HAVE

DINNER AT? IT'S NOT CONVENIENT FOR YOU. WAS IT

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CONVENIENT FOR MS. BURNHAM-SELENATI?

A. YES, I BELIEVE IT WAS.

Q. WHY WAS IT CONVENIENT FOR HER?

A. BECAUSE I BELIEVE SHE LIVED REASONABLY CLOSE
TO THAT RESTAURANT.

Q. AND WHEN YOU SAY "REASONABLY CLOSE, "

APPROXIMATELY HOW FAR?

A. PROBABLY A COUPLE OF MILES.
Q. COUPLE OF MILES.
A. SURE.

Q. AND DO YOU KNOW HOW TO GET -- OR AT LEAST IN

592

2000 WHEN YOU HAD DINNER WITH MS. SELENATI, FORMERLY

MS. BURNHAM, AT THIS RESTAURANT, DID YOU KNOW HOW TO

GET FROM THAT RESTAURANT TO HER HOME?

MR. HUDSPETH: OBJECTION, FORM.

A. I KNOW IT WAS IN THE VICINITY, BUT I -- I
PROBABLY COULDN'T HAVE ACTUALLY FOUND -- FOUND IT. IF
I RECALL, WE MET AT THE RESTAURANT --

Q. (BY MR. BREEN) OKAY.

A. -~- NOT AT HER HOME.

Q. OKAY. YOU HAD NEVER BEEN TO HER HOME?

A. OH, YES, I HAD BEEN TO HER HOME.

Q. HOW MANY OCCASIONS HAVE YOU BEEN TO HER HOME?

A. I HAD BEEN TO HER HOME -- I CAN'T GIVE YOU

THE SPECIFIC NUMBER, BUT IT -- IT WOULD HAVE BEEN IN

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593
THE -- YOU KNOW, '96 PERIOD, THE PERIOD AFTER SHE LEFT
DEY THROUGH '96, I DON'T KNOW, HALF A DOZEN TIMES
MAYBE, BUT -- BUT AFTER THAT PERIOD I -- I DID NOT GO
TO HER HOME.
Q. ALL RIGHT. SO YOU WENT TO HER HOME -- THIS
IS THE HOME NEAR THE RESTAURANT APPROXIMATELY SIX
MILES SOUTH OF SAN FRANCISCO AIRPORT --
A. YES.
Q. -- THAT YOU ARE TALKING ABOUT? OKAY. AND
YOU HAD GONE TO HER HOME APPROXIMATELY HALF A DOZEN
TIMES IN THE '96 TIME FRAME AFTER SHE LEFT DEY
LABORATORIES.
A. YES, MORE OR LESS.
Q. OKAY. AND DO YOU KNOW IF SHE RESIDED AT THAT

HOME DURING THE TIME THAT SHE ACTUALLY WORKED AT DEY

LABORATORIES?
A. YES. NO. EXCUSE ME. AT THE TIME SHE -- NO.
LET ME CORRECT THAT. AT THE TIME SHE LIVED -- WORKED

WITH DEY LABORATORIES SHE LIVED IN NAPA.

Q. IN NAPA.

A. YES. AND SHE -- AND SHE MOVED TO THAT

ADDRESS AFTER SHE LEFT DEY LABORATORIES.

Q. ALL RIGHT. DID YOU EVER VISIT MISS THEN

BURNHAM, NOW SELENATI'S HOME IN NAPA?

A. YES, I DID.

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597
MR. BREEN: NO, HOME NEAR THE RESTAURANT
SIX TIMES.
MR. FLECKMAN: OKAY. GOT YOU.
Q. (BY MR. BREEN) ON EACH OCCASION THAT YOU
WENT TO THAT HOME NEAR THE RESTAURANT SIX TIMES,
APPROXIMATELY SIX TIMES, DID YOU DRIVE YOURSELF?
A. YES, SIR.
Q. OKAY. AND DID YOU HAVE ANYBODY IN THE CAR
WITH YOU TELLING YOU HOW TO GET TO HER HOUSE?

A. NO, SIR.

Q. OKAY. AND WHO GAVE YOU THE DIRECTIONS TO HER
HOUSE?
A. SHE DID.

Q. AND DID YOU EVER -- DID YOU HAVE HER PHONE

NUMBER WHEN YOU USED TO --

A. YES, I DID.
Q. -- WHEN YOU USED TO VISIT HER?
A. YES.

Q. OKAY. AND WHEN YOU HAD DINNER WITH HER

SOMETIME IN 2000 AT THIS RESTAURANT SOUTH OF SAN

FRANCISCO AIRPORT DID YOU HAVE HER PHONE NUMBER AT

THAT TIME?
A. YES, I WOULD HAVE -- I WOULD HAVE I BELIEVE
HAD HER PHONE NUMBER, WORK PHONE -- WORK PHONE NUMBER

IF SHE WAS STILL THERE. AND HER HOME, I WOULD HAVE

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648
Q. (BY MR. BREEN) ARE YOU AWARE OF ANY -- ASIDE
FROM WHAT -- WHAT YOU MAY OR MAY NOT GLEAN FROM THE
EXHIBIT THAT I JUST SHOWED YOU TO, EXHIBIT 344, ARE
YOU AWARE OF ANY ACTIONS THAT RICK UPP TOOK ON BEHALF

OF DEY LABORATORIES THAT WERE NOT AUTHORIZED?

A. I'M NOT AWARE OF ANY.
Q. LET ME SHOW YOU WHAT WAS MARKED YESTERDAY
AS --

MR. BREEN: WELL, BEFORE WE DO THAT, CAN

YOU GO TO EXHIBIT 74, RAY?

MR. WINTER: (COMPLIES) .

Q. (BY MR. BREEN) NOW, DO YOU RECALL BEING
ASKED ABOUT EXHIBIT 74 DURING YOUR -- YOUR LAST --

LAST DEPOSITION?

Q. AND TAKE A MOMENT TO THUMB THROUGH IT, BUT

YOU'LL SEE IN THERE AN AWP REIMBURSEMENT PROGRAM.

Q. AND YOU'LL SEE THERE THAT -- SOME FORMULAS

AND CALCULATIONS DONE TO CONVINCE GERIMED CUSTOMERS
THAT THEY SHOULD BUY DEY'S UNIT DOSE INSTEAD OF
WARRICK'S MULTIDOSE EVEN THOUGH DEY'S UNIT DOSE IS
MORE EXPENSIVE?

A. YES, SIR.

Q. AND -- AND -- AND THE -- AND THE PROPOSAL WAS

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649
EXPLAINED TO THEM THAT DEY'S UNIT DOSE IS MORE
PROFITABLE BECAUSE OF -- ON REIMBURSEMENT, DO YOU
RECALL THAT?
A. YES, SIR.
Q. DO YOU RECALL TESTIFYING THAT YOU AGREE WITH
MR. RICE, THAT KIND OF MARKETING WAS NOT CONSISTENT

WITH DEY'S POLICY?

A YES, SIR
Q. IS THAT STILL YOUR TESTIMONY?
A. WE -- CLEARLY THERE HAVE BEEN SEVERAL

INSTANCES WHERE THIS OCCURRED AND AS WE'VE SEARCHED

THE DOCUMENTS THERE'S -- THERE'S BEEN SEVERAL
INSTANCES THAT THAT HAS -- HAS COME OUT. MOST OF
THOSE WERE PROPOSALS SUCH AS -- AS THIS PARTICULAR

DOCUMENT THAT WOULD HAVE GONE TO A -- A CONTRACTING

ANALYST AND SO NOT NECESSARILY WOULD I HAVE SEEN THESE

AT THE TIME THAT YOU ASKED ME THOSE -- YOU KNOW, AT

THE TIME THAT THEY WERE DONE.

Q. OKAY.

A. SO YES.

Q. OKAY. SO THIS IS THE KIND OF THING THAT WENT

TO A DEY CONTRACT ANALYSIS, RIGHT?

A. THAT'S CORRECT.

Q. ALL RIGHT. AND SO YOU'RE NOT AWARE OF ANY

INFORMATION THAT WOULD INDICATE TO YOU THAT DEY

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650
SALESPEOPLE ACTUALLY WERE PERMITTED TO MAKE SALES
PITCHES CONTAINING THE SAME KIND OF INFORMATION TO
ACTUAL DEY CUSTOMERS, ARE YOU?
A. WELL, UPON RESEARCHING THE DOCUMENTS I
HAVE -- IT'S COME TO MY ATTENTION THAT THERE WAS SOME
OF THESE PRESENTATIONS BEING DONE IN OR ABOUT 1995,
"96.
Q. AND THEY WEREN'T AUTHORIZED, WERE THEY?
A. I WAS NOT AWARE OF THEM AT THE TIME.
Q. AND IF -- IF -- SO IF MR. UPP WERE GOING
AROUND THE COUNTRY TELLING HIS SALESPEOPLE TO MAKE
THESE KIND OF PRESENTATIONS TO CUSTOMERS, THAT WAS
WITHOUT YOUR KNOWLEDGE, WASN'T IT?
A. IT WAS NOT -- I WAS NOT AWARE OF MR. UHL

DOING THAT, YES.

Q. MISTER WHO?

A. MR. UHL. RUSS UHL.

Q. ALL RIGHT. BUT MY QUESTION, IF MR. UPP,
THE -- A REGIONAL SALES MANAGER --

A. OH, MR. UPP.

Q. -~ WERE GOING AROUND THE COUNTRY TELLING HIS

SALESPEOPLE TO MAKE PRESENTATIONS TO DEY'S CUSTOMERS

USING THE SAME MARKETING TECHNIQUE TRYING TO CONVINCE

THE CUSTOMER TO BUY THE MORE EXPENSIVE DEY UNIT DOSE

BECAUSE IT WAS MORE PROFITABLE THAN THE CHEAPER

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651
WARRICK MULTIDOSE, THAT WAS WITHOUT YOUR KNOWLEDGE,
WASN'T IT?
A. I HAVE A VAGUE RECOLLECTION OF SOME OF THAT
GOING ON AT -- SOME OF OUR REPS CLEARLY DID DISCUSS
REIMBURSEMENTS TO SOME OF OUR CUSTOMERS DURING THAT
PERIOD OF TIME.
Q. BUT THAT WASN'T AUTHORIZED BY YOU, WAS IT?
A. I WAS NOT AWARE OF THE EXTENT THAT IT WAS
BEING DONE DURING THAT PERIOD OF TIME.
Q. YOU WEREN'T AWARE OF THE EXTENT THAT IT WAS
BEING DONE?
A. RIGHT. I HAD SEEN SOME FORMS, BUT I DIDN'T
REALIZE THAT THEY HAD ACTUALLY BEEN IMPLEMENTED.
Q. YOU NEVER AUTHORIZED THOSE FORMS, DID YOU?
A. I DIDN'T -- I DIDN'T AUTHORIZE THEM, NO.
Q. AND YOU DIDN'T AUTHORIZE ANYBODY ELSE TO
AUTHORIZE THEM, DID YOU?
A. NOT TO MY RECOLLECT -- RECOLLECTION.
Q. AND IT WAS YOUR INTENTION AT THE TIME THAT
THEY SHOULD NOT BE AUTHORIZED, WASN'T IT?
A. IF I HAD KNOWN THE DOCUMENTS THAT I'VE SEEN I
CERTAINLY WOULD HAVE DONE SOMETHING ABOUT IT AT THE
TIME.
Q. BECAUSE IT WAS YOUR POLICY AS THE EXECUTIVE

VICE PRESIDENT OF SALES AND MARKETING THAT YOUR PEOPLE

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652
WERE NOT SUPPOSED TO BE ENGAGING IN THAT KIND OF
MARKETING, WERE THEY?
A. THAT WAS MY UNDERSTANDING AT THE TIME.
Q. AND -- AND -- AND YOU GAVE YOUR SUBORDINATES
INSTRUCTIONS NOT TO ENGAGE IN THAT KIND OF MARKETING,
DIDN'T YOU?
A. I DON'T REMEMBER ANY SPECIFIC INSTRUCTIONS
THAT I GAVE THEM FOR OR AGAINST IT, BUT CLEARLY THERE
WAS SOME DISCUSSION OF SPREAD, PARTICULARLY WHEN IT
CAME TO MULTIDOSE VERSUS UNIT DOSE BY SOME OF OUR
SALES REPRESENTATIVES DURING THE PERIOD OF '95 AND
EARLY '96 AT LEAST.
Q. AND WHEN YOU SAY DISCUSSION OF THE SPREAD,
YOU MEAN USING THE GREATER SPREAD ON REIMBURSEMENT ON
DEY'S PRODUCT IN ORDER TO MARKET THE PRODUCT, CORRECT?
A. THE DISCUSSION OF THE REIMBURSEMENT
DIFFERENCES BETWEEN UNIT DOSE AND MULTIDOSE, THAT'S
WHAT I'M REFERRING TO.
Q. ARE YOU REFERRING TO THE DISCUSSION AS IT
RELATED TO USING THE GREATER REIMBURSEMENT SPREAD ON
DEY'S MULTIDOSE AS A MARKETING TOOL?
A. NOT ON MULTIDOSE.
Q. I'M SORRY, ON THE UNIT DOSE?
A. ON THE UNIT DOSE.

Q. OKAY. NOW, IF YOU DIDN'T AUTHORIZE THAT KIND

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